Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 1 of 25 PageID #: 7
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(12)   United States Patent                                                   (10) Patent No.:                     US 7,353,229 B2
       Vilcauskas, Jr. et al.                                                 (45) Date of Patent:                              Apr. 1, 2008

(54)    POST-SESSION         INTERNET        ADVERTISING                        4,833,308 A           5/1989    Humble                       235/383
        SYSTEM
                                                                                                        (Continued)
(76)    Inventors:    Andrew J. Vilcauskas, Jr., 7305 SW.
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(21)    Appl. No.: 09/866,425                                           Primary Examiner-Luke               S Wassum
                                                                        (74) Attorney, Agent,               or Firm---Chernoff,            Vilhauer,
(22)    Filed:        May 24,2001                                       McClung & Stenzel

(65)                     Prior Publication    Data                       (57)                          ABSTRACT
        US 2002/0019834      Al      Feb. 14, 2002
                                                                        The present invention is directed to a post-session advertis-
                  Related U.S. Application    Data                      ing system that may be used in media such as computers,
                                                                        personal digital assistants, telephones, televisions, radios,
(60)    Provisional application No. 60/207,698, filed on May
                                                                        and similar devices. In one preferred embodiment, a first
        26,2000.
                                                                        display is viewed in a first platform in the foreground of a
(51)    Int. Cl.                                                        media by a viewer. A viewer initiates a load triggering event
                                                                        and in response, a post-session platform is opened to display
        G06F 17/30             (2006.01)
                                                                        a post-session display in the background of the media.
        G06F 7/00              (2006.01)
                                                                        Significantly, in the preferred embodiment, the post-session
(52)    U.S. Cl.                  707110; 707/104.1; 715/513;
                                                                        platform stays in said background until a view triggering
                                     715/802; 719/318; 70511
                                                                        event occurs. The type of platform and display used will
(58)    Field of Classification Search                 705114;          depend significantly on the media. In one preferred embodi-
                   707/1-5, 10; 715/764,767,778,790-797,                ment of the present invention an optional focus timer is
                                                      715/808           activated by the view triggering event to allow an accurate
        See application file for complete search history.               assessment of the actual time a viewer focuses on the display
(56)                    References   Cited                              in the post-session platform. In another alternate preferred
                                                                        embodiment of the present invention, the number of post-
                  U.S. PATENT DOCUMENTS                                 session platforms is limited to, for example, one platform.
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u.s. Patent          Apr. 1, 2008          Sheet 1 of 11               US 7,353,229 B2




                       20                                                       22



              CLIENT                                            WEB
                                                               SERVER




               26             26                        26          26                     26


     VIEWER       VIEWER            VIEWER               VIEWER         VIEWER

                                                                          28


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      FIG. 1                              34
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 6 of 25 PageID #: 12


u.s. Patent          Apr. 1,2008    Sheet 2 of 11         US 7,353,229 B2



                            START



               VIEWING A FIRST DISPLAY
                 IN A FIRST PLATFORM
                     OF THE MEDIA



                      INITIATING A
                   LOAD TRIGGERING
                         EVENT

                                                    (78
           ,---------L..-------L.....,
              OPENING A POST-SESSION
                 PLATFORM IN THE
             BACKGROUND OF THE MEDIA



                      INITIATING A
                   VIEW TRIGGERING
                         EVENT

                                               (    82

              VIEWING A POST-SESSION
                   DISPLAY IN THE
              POST-SESSION PLATFORM



                              END
                                                    FIG.2
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                                WEB SERVER                                                           ~
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               I                42                                             FIG. 3
       SCRIPT HANDLER      )
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                                                                 I   FIG. 3A I FIG. 3B I FIG. 3C I   ~
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                                     r   43b                                                         ~...•

                      RETURN
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                   POST-SESSION
                                                             I
                    PROCEDURE                                I

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r43a                                                                                                 =-
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  REQUEST
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POST-SESSION                                                                                         ...•
                                                             I                                       ...•
 PROCEDURE                                                   I


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                           34                   MEDIA
                                          r32
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                                                                                                     dtr:
           I   DISPLAY T                                                                             -....l

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  FOREGROUND          PLATFORM                                                                       W
                                                                       FIG.3A                        NN
                                                                                                     \C

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                                                                                                              Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 7 of 25 PageID #: 13
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                                                                                               7Jl
                                                                                           I   •
                                                                                           I   -e
                              WEB SERVER                                                       ~
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                                                                                               ~
                                   t            44                                             ~
                                                                                               =
                             EVENT HANDLER
I                                                                                          I
I                                                                                          I

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I                     /45a               /45b                                                  QO
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                                                                   ----- ---I              I
                                                          I                     I
          REQUEST LINK        RETURN LINK                 I   RETURN       I
                                                          I                I
           TO DISPLAY         TO DISPLAY                  ! FOCUS TIMER!
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I                                                                                          I   e....
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    (28                                                                                        ...•
                                                          I
                                                          I
                (58              MEDIA                                              Ir24
                                                                    30
i    LOAD TRIGGERING                                 I DISPLAY Ir                          i
          EVENT                             POST-SESSION PLATFORM                              dtr:
                                                (BACKGROUND)                                   -....l

                                                                                               W
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                                                                                               W
                              FIG. 38                                                          NN
                                                                                               \C

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                                                                                                        Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 8 of 25 PageID #: 14
                                                                                          e
                                                                                          •
                                                                                          7Jl
I                                                                 22                      •
                                WEB SERVER                                                -e
                                                                                          ~
                                                                                          ~
                                                                                          ~
                                46                                                  (84   ~
                                                                                          =
            FOCUS HANDLER
I
I
                                                                          STATISTICAL
                                                                             DATA         ~
                                                                                          :-:
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                                                                                   (48    ooN
I                                                                                         QO
I                                                                           COUNT
                                                                           DAEMON
                                                                  47
                                               r-------   --~-,                           rFJ

                                               i TIME DATA i           SECONDARY SERVER   =-
                                                                                          ('D
                                                                                          ('D
                                               L-------f-------~                          ...•.
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                                                                                          e....
               28                                                                         ...•
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                    68         MEDIA
                                               I DISPLAY If 30                24
I   _I   VIEW TRIGGERING   1           .1
              EVENT
                                            POST-SESSION PLATFORM                         dtr:
                                                (FOREGROUND)                              -....l

                                                                                          W
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                                  FIG.3C                                                  NN
                                                                                          \C

                                                                                          N=
                                                                                                   Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 9 of 25 PageID #: 15
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 10 of 25 PageID #: 16


u.s. Patent          Apr. 1, 2008      Sheet 6 of 11        US 7,353,229 B2




                    RECIEVE REQUEST FOR
                      SCRIPT CODE FROM
                  FOREGROUND WEB BROWSER
                                                             (   42

    SCRIPT HANDLER
                           PARSE REQUEST


                       ASSEMBLE STATISTICS
                             PACKET


                  TRANSMIT STATISTICS PACKET
                      TO COUNT DAEMON



                    YES             WITHIN             NO
                                     TIME
                                    DELAY

       BLANK SCRIPT                                NORMAL SCRIPT




                       ASSEMBLE RESPONSE




                               RETURN
                             SCRIPT CODE                    FIG.4
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 11 of 25 PageID #: 17


u.s. Patent          Apr. 1,2008     Sheet 7 of 11        US 7,353,229 B2




                      RECIEVE REQUEST
                        FOR DISPLAY




    EVENT HANDLER


                       PARSE REQUEST




                   ASSEMBLE STATISTICS
                         PACKET



             TRANSMIT STATISTICS PACKET
                 TO COUNT DAEMON



                   ASSEMBLE RESPONSE




                       RETURN DISPLAY
                                                          FIG.5
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 12 of 25 PageID #: 18


u.s. Patent          Apr. 1, 2008    Sheet 8 of 11            US 7,353,229 B2




                        .: 22                                 (   84

                 WEB SERVER /'      46         SECONDARY SERVER

                                                        COUNT
             FOCUS HANDLER
                                                       DAEMON
                                                                       48




                            TIME
                                         RESPONSE
                            DATA
                                           ~
         r: 28
           MEDIA
                              FOCUS TIMER



          FOCUS AND BLUR                             UNLOAD
              EVENTS                                  EVENT




                    POST-SESSION WEB BROWSER




                                                     FIG.6
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 13 of 25 PageID #: 19


u.s. Patent          Apr. 1, 2008      Sheet 9 of 11         US 7,353,229 B2




   POST-SESSION WEB BROWSER               FOREGROUND WEB BROWSER




                               44                                42

          EVENT HANDLER                         scm PT HANDLER

            STATISTICAL                            STATISTICAL
                           ,-----------1              DATA
               DATA
                                                                  48


                                    .-----~   INCOMING PACKET
                                                   QUEUE




                                                         DATA
          PARSED DATA                                  REFRESH



                                                 DATABASE SERVER



                                                       CACHED
     COUNT DAEMON                                      UPDATES


                                FIG. 7
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 14 of 25 PageID #: 20


u.s. Patent           Apr. 1, 2008         Sheet 10 of 11         US 7,353,229 B2



                                                            ~       (62
            START             0
                t        (5                        REQUEST
                                                 POST-SESSION
            ADD                                     DISPLAY
       POST-SESSION                                                             64
       INSTRUCTIONS
                                  52                RETURN
                ~
                                                 POST-SESSION
         REQUEST                                    DISPLAY
       FOREGROUND
          DISPLAY                          I                 t        ~_~~
                                           I                                    I

                                  54       !      RETURN         !
                                           !FOCUS TIMER PROCESS!
         REQUEST                           ~~~-~~~~~~~~~~~~~-~--~~-~~--~~-~8
       POST-SESSION
        PROCEDURE
                                                     VIEW
                ~            (56               TRIGGERING EVENT
                                                                           -'
          RETURN                                             l                  69
       POST-SESSION                               VIEW DISPLAY
        PROCEDURE
                               58
                                                             ~       (70
                ~
                                                       EXIT
            LOAD                                  POST-SESSION
        TRIGGERING                                   DISPLAY
           EVENT
                                  60                         I             72
                                                r-----------t---------~
           OPEN
                                                I     RETURN           I
       POST-SESSION
                                                i TIME DATA i
                                                L-----------r----------~
         PLATFORM
                 1'-----__           -..                    END

                                  FIG.8
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 15 of 25 PageID #: 21


u.s. Patent             Apr. 1, 2008   Sheet 11 of 11     US 7,353,229 B2




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Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 16 of 25 PageID #: 22


                                                   US 7,353,229 B2
                             1                                                                    2
     POST-SESSION      INTERNET ADVERTISING                        make a purchase once the customer has reached the Web
                        SYSTEM                                     site. But investment in Web site design is wasted unless the
                                                                   site is actually visited. A third goal is "branding," or increas-
   The present application is based on and claims priority         ing consumer awareness or recognition of a brand.
from provisional application Ser. No. 60/207,698, filed May           In order to meet these goals, most Internet businesses use
26,2000.                                                           interrupting advertisements such as pop-up windows, or
                                                                   space consuming advertisements (or "real estate" consum-
         BACKGROUND OF THE INVENTION                               ing advertisements) such as banner advertisements, link
                                                                   exchanges, and banner exchanges. Other Internet businesses
   The post-session Internet advertising system of the 10          use alternative advertising methods such as bulk e-mail.
present invention is a system and method for delivering            Although interrupting advertisements guarantee that a user
displays to viewers browsing displays with platforms, for          will see the advertisement for at least a split second, if only
exchanging traffic between platforms, and for accurately           to locate the icon used to close the window, these interrupt-
tracking focus time on display content.                            ing advertisements are particularly offensive to potential
   Web pages can be created using Hypertext Mark-up 15             customers because they force the user's attention to be
Language ("HTML") and Extensible Mark-up Language                  diverted. Most users simply close the window of an inter-
("XML"). HTML is a text-based set of instructions (known           rupting advertisement. Space consuming advertisements, on
as "tags") that describe the layout of elements on a Web           the other hand, are so pervasive that they have become
page. HTML can also be used to create "links" (generally, a        "white noise." Usually, a viewer focuses his attention on the
highlighted word, phrase or graphic image that points to a 20      information he needs from the Web page and ignores the
target such as another Web page) on the World Wide Web.            space consuming advertisement. Alternative advertising
XML consists of a set of tags that abstractly describe data,       methods are similarly problematic.
which can be translated into HTML using standard tools. In            With pop-up window advertising, a separate window of a
addition, a Web page can be divided into subpages (using           Web browser is displayed "on top" or "in front" of the Web
Frames, an HTML extension). A frameset is the set of 25            page being viewed. The advertisement, which may be larger,
subpages that together comprise a Web page. (For example,          smaller, or the same size as a banner advertisement, is
a Web page may be divided horizontally creating a frameset         displayed in the new browser window. Pop-up window
of two subpages comprising the top and bottom half of the          advertising has the advantage (for the Web site designer) of
Web page). In addition to its use in creating Web pages,           displaying an advertisement without having to change the
HTML and XML can be used to create advertising for the 30          layout of the Web page displaying the advertisement. But
Internet. The developer or maintainer of a Web site can            potential customers commonly consider the pop-up aspect
insert HTML or XML code in their Web pages so that when            disruptive and annoying.
potential customers view the Web page an advertisement and            Banner advertising, a space consuming advertising
a link to another Web site is displayed.                           method, is currently the primary method of advertising on
   Web pages and Internet advertising may be enhanced by 35        the World Wide Web. Banner advertising relies on HTML
small programs written in the Java language that are built         and some of the techniques used to create a Web site. Site
into a Web page to perform a specific function (such as            maintainers insert HTML code in their Web pages that
displaying an animation), often referred to as "applets." In       causes a small advertisement (approximately 0.5"x2" on the
addition, scripting languages such as JavaScript or VB Script      average screen) to appear in a frame on the Web page, i.e.,
are used to enhance the capabilities of Web pages by 40            a "banner advertisement." The HTML code also contains a
performing functions that are beyond the scope of HTML             link to another site. In short, when potential customers view
and XML, such as popping up special windows in response            a Web site with banner creating HTML code, a banner
to mouse clicks. Scripting languages include an event driven       advertisement and link are displayed on the Web page. The
model responsive to changes in a client's state and an             more traffic a Web sites has, the more it can charge for
Application Programmer's Interface for defining custom 45          displaying banner advertisements. The reason is that a
behaviors to be followed in response to such "events."             banner advertisement placed on a high volume site generates
   Another technique often used by Web site developers and         a lot of traffic for the advertised Web site. In theory, this is
Internet advertisers is to place a text file on the hard disc of   advantageous for both parties. But market research shows
a client when the user visits a Web site. These text files,        that as use of the Internet becomes widespread, banner
referred to as "cookies," are retrieved and read on subse- 50      advertisements are becoming less effective. The average
quent visits that a user makes to the Web site. Cookies can        potential customer is becoming jaded because banner adver-
be used to track the behavior of site visitors.                    tisements appear on almost every Web site. A measure of the
   The economic potential of the Internet is enormous, but         effectiveness of Internet marketing is the CTR, or click-
the medium is still in its early stages of development.            through ratio. CTR is the ratio of the number of times an
Revenue is directly proportional to the volume of qualified 55     advertisement is exposed to the number of hits generated by
potential customers ("traffic") that reach and view a com-         the advertisement when viewers "click through" to the
mercial Web site. Each visit (often referred to as a "hit") to     advertised site. The trend is that CTRs for banner advertise-
a commercial Web site has economic value. Thus, the                ments are dropping.
primary goal of Internet marketing is generating traffic. A           Link exchanges are another space consuming advertising
secondary goal is to get potential customers to make pur- 60       method for generating Web traffic. A link exchange is an
chases or otherwise use a commercial Web site (i.e., "capture      arrangement whereby a first Web site puts a link on its site
traffic"). Traffic is more difficult to generate than it is to     to a second Web site. In exchange, the second Web site
capture. Further, investment made to generate traffic pro-         places a link on its site to the first Web site. In addition to
duces a greater economic return than investment made to            exchanging links, a fee may be paid by one site to the other.
capture traffic. A company can a spend a lot of money on 65        Each link to the other site is generally placed in a prominent
effective Web site design so that potential customers will         place on the referring Web site. Effectively, a link exchange
have a rewarding experience and thus a higher inclination to       is a mechanism for sharing traffic between two Web sites.
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 17 of 25 PageID #: 23


                                                     US 7,353,229 B2
                              3                                                                     4
Alternatively, links may not be exchanged. Instead, a first           tarily in an active window and be at least partially obscured
Web site pays a second Web site to put a link to it on the            for most of the period it is displayed. The time an adver-
second Web site. Link exchange advertising has the advan-             tisement is displayed in an active window is called "focus
tage of lower cost than other advertising methods. In fact, a         time." Known techniques do not verify the focus time of an
link exchange may be free. In addition, any consideration
                                                                      advertisement that has been delivered to a potential cus-
paid for a link exchange or link placement is generally much
                                                                      tomer.
lower than that for banner advertisements. A drawback of
link exchanges is that their effectiveness varies. The effec-
tiveness depends on where the link is placed, whether there                  BRIEF SUMMARY OF THE INVENTION
is an image associated with it (thus blurring the line between 10
a link exchange and a banner advertisement), and how much                The post-session Internet advertising system of the
traffic each site receives from other forms of marketing.             present invention is a system and method for delivering
Market research shows that CTRs on link exchanges are                 displays to viewers browsing displays with platforms, for
consistently lower than CTRs for banner advertising.
                                                                      exchanging traffic between platforms, and for accurately
   Banner exchanges are a hybrid of banner advertising and 15
                                                                      tracking focus time on display content. This method of
link exchanges. A Web site joins a Web site syndicate and
                                                                      content delivery overcomes many of the inherent limitations
adds special banner advertisement HTML code to its Web
site. The special HTML code causes a banner advertisement             of known Internet based advertising methods.
for and a link to a syndicate member Web site to be                       The present invention is directed to a post-session adver-
displayed. Typically, the banner advertisement varies so that 20      tising system that may be used in media such as computers,
an advertisement for each syndicate member is alternately             personal digital assistants, telephones, televisions, radios,
displayed. A syndicate may be joined for free or for a                and similar devices. In one preferred embodiment, a first
nominal fee. In exchange for displaying banner advertise-             display is viewed in a first platform in the foregronnd of a
ments, banner advertisements for the member's Web site are            media by a viewer. Then, a load triggering event is initiated
displayed on the Web sites of other members. In addition, the 25      by the viewer. Next, in response to the load triggering event,
company managing the exchange syndicate will usually                  a post-session platform is opened to display a post-session
have paid advertisers as members. Fees paid by such adver-            display in the backgronnd of the media. Significantly, in the
tisers represent a source of revenue for the company man-
                                                                      preferred embodiment, the post-session platform stays in the
aging the exchange syndicate. A limitation of banner
                                                                      background until a view triggering event occurs. The type of
exchanges is that they are still fundamentally banner adver- 30
                                                                      platform and display used will depend significantly on the
tisements and as such are experiencing the same declining
                                                                      media.
CTRs as conventional banner advertisements.
   Bulk e-mail is an alternative advertising method that has             In one preferred embodiment of the present invention an
a reasonable return on investment but potential customers             optional focus timer is activated by the view triggering event
generally regard it unfavorably. If the bulk e-mail message 35        to allow an accurate assessment of the actual time a viewer
is read, it may effectively generate traffic. But it is far more      focuses on the display in the post-session platform.
likely that the potential customer immediately identifies the            In another alternate preferred embodiment of the present
message as a "UBE" (nnsolicited bulk e-mail), sends com-              invention, the number of post-session platforms is limited to,
plaints to the sender and to their connection provider, and           for example, one platform. Multiple load triggering events
deletes the message unopened and unread.                         40   would either be ignored or would cause the display to refresh
   Two events that are important to understanding the expe-
                                                                      (or change) in the already loaded post-session platform.
rience of a viewer browsing the Web are the "focus" and
"blur" events. Typically, a viewer accesses the Internet using           The computer and the Internet are exemplary media that
a platform, such as a Web browser, on media, such as a                might be used in the present invention. In this exemplary
computer. For example, a viewer accessing the Internet 45             embodiment, Web browsers are the platforms. Further, in
using the Internet Explorerm Web browser as a platform on             this exemplary embodiment, Web sites and advertisements
media consisting of a computer running the WindowsTM                  are exemplary display content. More specifically, while a
operating system observes the platform as appearing in a              participating Web site (display content) is being visited by a
window. Focus and blur describe states of a window. A focus           viewer using a first Web browser (platform), a second or
event occurs if a window is selected so that it may currently 50      post-session Web browser (platform) loads with a second or
receive input from a viewer. A blur event occurs if focus is          post-session advertisement (display content) upon a first or
removed from a window. While it is possible to simulta-               load triggering event such as exiting the specific Web page.
neously have multiple windows open, only one window may               The post-session Web browser does not disrupt the viewer's
have focus at any time. If a window is in the focus state, it         browsing experience in his first Web browser. Instead, a
always fully visible (i.e., it appears "on top" of other open 55      second or view triggering event, such as closing the first
windows) and is sometimes referred to as the "active"                 Web browser, allows the post-session Web browser (and the
window. Windows that are in the blur state are said to be in          advertisement thereon) to be viewable by the viewer. The
the "background" and are at least partially obscured by the
                                                                      present invention may also monitor the period of time that
window in the focus state. A viewer "clicks on" or otherwise
                                                                      the advertisement appears in the now active post-session
selects a window to create a focus event. Alternatively, a 60
                                                                      Web browser and provides statistical information to adver-
computer program may cause a focus event. A focus event
                                                                      tisers.
may also be referred to as a "view triggering event."
   With known Web marketing techniques there is no way of                The foregoing and other objectives, features, and advan-
knowing if an advertisement has been seen by the potential            tages of the invention will be more readily understood upon
customer. A banner advertisement, pop up window, or other 65          consideration of the following detailed description of the
Internet advertisement may appear at length in an active              invention, taken in conjunction with the accompanying
window and be fully visible, or may appear only momen-                drawings.
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 18 of 25 PageID #: 24


                                                     US 7,353,229 B2
                               5                                                                    6
       BRIEF DESCRIPTION OF THE SEVERAL                               examples of the terminology are not meant to exclude
             VIEWS OF THE DRAWING                                     broader concepts, unspecified examples, or undeveloped
                                                                      technology that would logically fall within the scope of the
    FIG. 1 is a block diagram of an exemplary embodiment of           invention. Viewers 26, for example, may be potential voters
a client, a Web server, media, and at least one viewer,               viewing a television program or potential customers brows-
platforms and displays of the post-session Internet advertis-         ing the Internet on a computer. The term "viewer" is also
ing system of the present invention.                                  used to describe a telephone user, a radio listener, or any
    FIG. 2 is a flow diagram showing the sequence of steps            media user. Clients 20 are entities that want to advertise or
that a viewer observes or initiates in the process of deliv-          direct traffic such as commercial enterprises, political, gov-
ering a display in an exemplary embodiment of the post-          10   ernmental, non-profit, or charitable organizations, individu-
session Internet advertising system of the present invention.         als, hobbyists, or any other person or entity that wants to
    FIGS. 3A, 3B, and 3C are block diagrams of an exem-               advertise or direct traffic. The Web server 22, as will be
plary embodiment of a Web server, a client, media, and a              described in detail below, substantially controls or directs
count daemon of the present invention showing a load                  the system of the present invention. Media 28 may be any
triggering event, a view triggering event, and data flow of      15   communication device, including but not limited to com-
the post-session Internet advertising system of the present           puters, personal digital assistants, telephones, televisions,
invention.                                                            radios, and similar devices. Platforms 24, 32 are means
    FIG. 4 is a flow diagram of the script handler of an              through which a viewer accesses a display to the exclusion
exemplary preferred embodiment the post-session Internet              of other displays. A platform may allow the viewer to play,
advertising system of the present invention.                     20   show, enable, perform, transmit, update, or record the
    FIG. 5 is a flow diagram of the event handler of an               selected display. Platforms 24, 32 may include, for example,
exemplary preferred embodiment the post-session Internet              Web browsers, browser windows, media channels, media
advertising system of the present invention.                          stations, media frequencies, audio connections, streaming
    FIG. 6 is a block diagram showing data flow of an                 media, content delivery applications, media viewing or
exemplary preferred embodiment of a focus handler, media,        25   interacting technology, and similar means. A foreground
and the count daemon of the post-session Internet advertis-           platform 32 is a platform that can be primarily sensed by a
ing system of the present invention.                                  viewer 26. A post-session platform 24 is a platform that
    FIG. 7 is a block diagram showing the data path to and the        begins its life in the background and that can be fully sensed
thread components and data path within the count daemon of            by a viewer 26 only after it has been brought to the
an exemplary preferred embodiment the post-session Inter-        30   foreground. Displays 30, 34 have content that a viewer 26
net advertising system of the present invention.                      sees, hears, or otherwise senses within or from a platform
    FIG. 8 is flow diagram of the process of the post-session         24, 32. Displays 30, 34 may include, for example, Internet
Internet advertising system of the present invention.                 content (such as streaming video, Web sites, Web pages),
    FIG. 9 shows an exemplary screen view of a frameset               video broadcast content (such as television programs, mov-
displaying branding information in an upper frame and            35   ies, videos, commercials, and infomercials), audio broadcast
client advertising content in a lower frame in one preferred          content (such as radio programs, commercials, and sound
embodiment of the present invention.                                  recordings or such as commercials or sound recordings
                                                                      played over a telephone connection), and any other content
           DETAILED DESCRIPTION            OF THE                     capable of being transmitted over media.
                    INVENTION                                    40      As mentioned above, FIG. 2 is a flow diagram showing
                                                                      the sequence of events from the viewer's 26 perspective.
   The post-session Internet advertising system of the                The viewer 26 first views 74 a first or foreground display 34
present invention is a system and method for delivering               in a first or foreground platform 32 of media 28. The viewer
displays to viewers browsing displays with platforms, for             26 then initiates 76 a load triggering event. This event causes
exchanging traffic between platforms, and for accurately 45           the opening 78 of a second or post-session platform 24 in the
tracking focus time on display content. As shown in FIGS.             background of the media 28. The post-session platform 24
1 and 2, a client 20 interacts with a Web server 22 to deliver,       remains in the background until the viewer 26 initiates 80 a
upon the occurrence of a "load triggering event," a post-             view triggering event. The viewer 26 then views 82 the
session platform 24 to a viewer's 26 media 28 so that the             post-session display 30 in the post-session platform 24.
viewer 26 may view the client's 20 post-session display 30 50            FIGS. 3A-3C show an exemplary system of the present
after the viewer 26 has exited (or another "view triggering           invention with data flow between elements of the system. It
event" has occurred) a foreground platform 32. Specifically,          should be noted that the functions shown in the Web server
when the viewer 26 who is viewing a first or foreground               22 element may be implemented by the Web server 22 alone
display 34 in a first or foreground platform 74 exits a client's      (as shown), by a combination of the Web server 22 and the
foreground platform 32 (or another load triggering event 55           client 20, or by the client 20 alone. It should also be noted
occurs 76), a post-session platform 24 is opened and is               that the media 28 is shown as providing the foreground
immediately sent to the background 78. Because it is in the           platform 32, the post-session platform 24 while it is in the
background, the post-session platform 24 does not disrupt             background, and the post-session platform 24 while it is in
the viewer's 26 browsing experience. When the viewer 26               the foreground. Exemplary individual elements of the sys-
closes the foreground platform 32 (either the original or a 60        tem are detailed in separate figures. Specifically, FIG. 4
subsequent platform 32) or another view triggering event              details an exemplary script handler 42, FIG. 5 details an
occurs 80, the post-session platform 24 comes to the fore-            exemplary event handler 44, FIG. 6 details an exemplary
ground 82. Finally, in one preferred embodiment, the                  focus handler 46 and the timer applications, and FIG. 7
amount of time the post-session platform 24 spends in the             details an exemplary count daemon 48.
foreground may be monitored.                                     65      FIG. 8 is a flow diagram showing the sequence of steps in
   Throughout this specification terminology will be used to          the process of delivering display content in the embodiment
describe the present invention. The following definitions and         of the present invention shown in FIGS. 3A-3C. In the first
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 19 of 25 PageID #: 25


                                                    US 7,353,229 B2
                              7                                                                    8
step, a client 20 adds post-session instructions to its display         First, it should be noted that the present invention may be
50. A viewer 26 requests a foreground display 52 from a first        implemented on the World Wide Web service on the Internet
or foreground platform with post-session instructions                or other analogous network service in an alternate network
embedded (or otherwise linked) therein. After the fore-              environment (e.g. a telephone network or a television net-
ground display 34 loads, the post-session instructions cause         work). The term Web server 22 is meant to be broadly
a post-session procedure 43a to be requested 54 and, in tum,         construed to be applicable to alternate network environ-
the script handler 42 returns a post-session procedure 43b,          ments. Details of opening and maintaining a network con-
56. At some point the viewer 26 initiates a load triggering          nection, selecting the appropriate actions for various uni-
event 58. This load triggering event causes a post-session           form resource indicators,          content negotiation,     and
platform to open 60 in the background (physically behind or 10       transaction logging handled by the existing Web server
otherwise hidden from the viewer) and also causes the                system, however, are meant to be exemplary as such pro-
post-session platform to request a post-session display 62. In       tocols may or may not be necessary in alternate network
one alternative embodiment, the post-session platform 24             environments.
that opens is of a type different from the foreground platform          As shown in FIGS. 3A-3C., the functions of the Web
32. The event handler 44 receives the request for a link 45a, 15     server 22 may be divided into the three Web services: the
62 and returns a link to post-session display 45b, 64. In an         script handler 42 (FIG. 4), the event handler 44 (FIG. 5), and
alternative preferred embodiment, the client 20 includes an          the focus handler 46. These services may be implemented as
event handler 44 that receives request 62 and returns a              separate processes by a Web server (as shown), as a single
post-session display 64 into a secondary post-session plat-          process, or as any number of processes on any number of
form. Optionally, the event handler 22 returns a focus timer 20      servers. These services may also be implemented by the
process 45c, 66. The post-session platform 24 and display 30         client's system or on the viewer's media. These services are
remain in the background until the viewer 26 initiates a view        similar in some functions, but there are differences in which
triggering event 68. The viewer 26 views the post-session            portion of a single transaction each service handles. For
display in the post-session platform 69. After the viewer 26         example, each service can read its state from the information
is done viewing the post-session display 30, the viewer 26 25        and cookies present in the HTTP connection headers. Each
exits the post-session display 70. Optionally, when the              service can retrieve account information from a relational
viewer 26 exits the post-session display, time data 47 may be        database about the requesting client 20. Each service may
returned to the focus handler 72. A count daemon 48 (which           transmit statistical packets to a caching statistical collation
may be housed in the Web server or in a secondary server             module, referred to as the "count daemon" 48 (detailed in
84) optionally may monitor and/or analyze statistical data. It 30    FIG. 7), and then may deliver an appropriate response to the
should be noted that the script handler 42, event handler 44,        post-session Web browser. The response can also optionally
and focus handler 46 may be processes implemented by the             include state and status information about the post-session
Web server 22 as shown or may be processes implemented               Web browser in the form of cookies. These services will be
by a plurality of servers or may be multiplied or divided into       discussed individually in the order they appear in the system
any number of processes.                                        35   as shown and described in FIGS. 3A-3C and 8.
   Applying the basic flow shown in FIGS. 3A-3C and 8 to                Adding Post Session Code. In order to activate the method
an exemplary embodiment of a Web surfer viewer surfing               of the present invention, a client 20 obtains post-session
the Internet, a commercial client 20 adds post-session               instructions from a Web Server 22 and adds them to its
instructions (HTML code) to its Web page display 50. A               display 34. In one exemplary preferred embodiment, the
surfer 26 requests the client's Web page 52 with the post- 40        post-session instructions are post-session HTML code that a
session instructions (HTML code) embedded therein. After             client 20 adds to its Web pages. In an alternative preferred
the foreground Web page 34 loads, the post-session instruc-          embodiment, the post-session instructions are post-session
tions (HTML code) cause a script code 54 to be requested             XML code that a client 20 adds to its Web pages.
and, in tum, the Web server 22 returns a script code 56. At             Viewer Opens a Platform. A viewer 26 opens a client's 20
some point the surfer 26 initiates a load triggering event 58, 45    display 34 with a foreground platform 32. In one preferred
usually by exiting the initially viewed client's Web page.           embodiment, a viewer 26 opens a client's 20 Web page with
This load triggering event causes a post-session browser to          a Web browser.
open 60 behind the foreground browser and also causes the               Script Code Delivery. As shown in FIG. 3A, when a
post-session browser to request a post-session display 62.           viewer 26 opens a client's 20 display 34 with a foreground
The Web server 22 receives request 62 and returns a link or 50       platform 32, the post-session instructions that the client 20
address to a post-session display 64. Optionally, the Web            added to its display 34 cause the foreground platform 32 to
server 22 also returns a focus timer 66. The post-session            download 43a, 43b a post-session procedure from the Web
browser 24 and display 30 remain in the background until             server 22. In one exemplary preferred embodiment the
the surfer 26 initiates a view triggering event 68 such as           post-session procedure downloaded from the Web server 22
exiting the foreground browser 32. The surfer 26 views the 55        to the platform 32 is script code. In one preferred embodi-
post-session display in the post-session browser 69. After           ment, the client's account nnmber is encoded directly into
the surfer 26 is done viewing the post-session display 30, the       foreground platform's 32 request for a post-session proce-
surfer 26 exits the post-session display 70 and time data is         dure so that proper credit is given to the client 20 for
optionally returned to the Web server 72.                            bringing in traffic to the system of the present invention, for
   Detailed Chronological Description                           60   verification, and/or for determining the appropriate category
   The following paragraphs provide exemplary details of             of advertisement to return.
one exemplary method by which the present invention may                 Script Handler. In the exemplary preferred embodiment
be implemented. Alternate methods could be developed by              shown in FIGS. 3A and 4, when a viewer requests a display
those skilled in the art to implement the basic concepts of the      34 to which post-session HTML code has been added, a
present invention. These details will be addressed in sub- 65        request for a post-session procedure 43a is sent to the script
stantially the same order in which they were discussed in            handler 42. The time at which the request for the post-
relation to FIGS. 3A-3C and 8.                                       session procedure is made is preferably recorded, noted,
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 20 of 25 PageID #: 26


                                                   US 7,353,229 B2
                             9                                                                  10
and/or stored. In addition, the script handler 42 may verify       an alternative preferred embodiment, a second post-session
that the account number present in the requesting link is          platform is not opened. In an additional preferred embodi-
valid. The script handler 42 then returns a post-session           ment, if a first load triggering event is followed by a second
procedure 43b to the platform 32.                                  load triggering event, a second post-session window is
    As illustrated in the exemplary embodiment of FIG. 4, the      opened only if the time period between load triggering
script handler 42 may parse each request and assemble              events is longer than a predetermined time period.
statistics packets for transmission to the count daemon 48. If         Post-Session Procedure. The post-session procedure con-
a viewer subsequently requests a second client Web page, a         sists of a set of actions to be taken in response to the load
second request for script code is sent to the script handler 42.   triggering event. The post-session procedure causes no
Using the time data that has been recorded, noted, and/or 10       immediate visible change to the foreground display 34, but
stored, the length of time that has elapsed between the initial    when the load triggering event occurs, a new platform
and subsequent requests is determined. The script handler 42       (post-session platform 24) opens and is immediately sent to
determines if the elapsed time is longer or shorter than a         the background. The post-session platform 24 may be a full
specified time period ("time window"). If the elapsed time         sized window or any other sized window.
is shorter than the time window, script code specifying that 15        Event Handler. As shown in FIGS. 3B and 5, the event
no operations are to be performed is returned (blank script).      handler 44 is invoked by a request for a display link 45a by
If the elapsed time is longer than the time window, normal         the newly opened post-session Web browser. The event
script code is returned. Finally, a response is assembled and      handler 44 chooses and delivers a link to a client's Web site
returned to the viewer's foreground platform 32.                   45b. In one preferred embodiment, the event handler deliv-
    The reason for determining whether a second request for 20     ers a link to an HTML frameset. There is no requirement,
script code is made within a time window is to provide the         however, that the post-session browser link to HTML code.
viewer with a reasonable opportunity to view a display             In alternative preferred embodiments, the post-session
before replacing it with a new display. If a viewer requests       browser links to any form of network content including
a second Web page to which the same client's (or, in an            sound, animation, streaming video, or any other form of rich
alternate embodiment, any client's) post-session HTML 25           media. In one preferred embodiment, the event handler 44
code has been added, a load triggering event occurs. If this       delivers links to automatically load the focus timer 45c. As
load triggering event occurs within the time window, a             shown in FIG. 5, the event handler 44 parses a request and
request for script code will result in blank script code being     assembles statistics packets which it then transmits to the
returned. In other words, the viewer is not sent a second          count daemon 48. A response is assembled and returned to
display. On the other hand, if this load triggering event 30       the platform 24.
occurs after the time window, the viewer will be sent a                The post-session procedure downloaded from the Web
second display to replace the first unseen display.                server 22 to the platform 32 may be written in any supported
    It should be noted that, although an optional feature of the   scripting language, such as JavaScript or VB script. In an
present invention, this process of replacing unseen displays       exemplary preferred embodiment, the post-session proce-
can be very strategic. Viewers tend to dislike being flooded 35    dure is an advertising session consisting of opening a
with displays such as advertising. Where a single display          post-session platform 24, linking to the Web server 22,
causes the viewer to examine its content, multiple displays        sending the post-session platform 24 to the background (or
tend to aggravate the viewer. Accordingly, although the            conversely, bringing the viewer's platform to the fore-
scope of the invention clearly includes opening multiple           ground), and optionally loading a process used for tracking
platforms with multiple displays, the preferred embodiment 40      focus time. In other words, one preferred embodiment of the
is to allow only a single post-session platform.                   present invention uses the load triggering event to trigger an
    It should also be noted that the "time window" could be        advertising session.
replaced by a "hit counter" in which the replacement is not            Post-Session Platform. As shown in FIGS. 3B and 3C, the
done for a certain number of hits. Alternately, there could be     post-session platform 24 requests from the Web server 22
a ranking system in which clients/displays with higher 45          the address of display 30. In one preferred embodiment, the
rankings (perhaps paying versus unpaying clients/displays)         address of display 30 is the client 20. In alternative embodi-
cannot be replaced by clients/displays with lower rankings.        ments, the address may be, for example, other clients or the
These alternatives are meant to be exemplary and not to limit      Web server. When display 30 is returned, the post-session
the scope of the invention.                                        platform 24 displays display 30. In one preferred embodi-
    Load Triggering Event. At some point while viewing the 50      ment, display 30 is advertising content for a client 20. In an
display 34, the viewer activates a load triggering event. Load     alternative preferred embodiment, display 30 is a Web site or
triggering events may include, for example, the viewer             Web page of a client 20. In one preferred embodiment, as
leaving or exiting the specific display 34 or the viewer           shown in FIG. 9, the post-session platform 24 shows the
closing the foreground platform 32. Exemplary alternative          display 30 in a frameset with branding information of the
load triggering events may include clicking on an off-site 55      Web server 22 in one frame and client advertising content in
link or entering a new address in a dialogue box, time delay,      another frame.
load, unload, click, resize, submit, focus, blur, drag, key            In one preferred embodiment, the post-session platform
press (including a mouse button key), select, change (con-         24 is a default browser window of the same type as the
tents of a form field), refresh, open, close, redirect, enter,     current foreground platform 32. One alternate embodiment
exit, move, minimize, maximize, end of program, beginning 60       could have a specific viewer-specified default platform.
of program, begiuning of session, end of session, "switching       Another alternate embodiment could use a default platform
services," or change of service. These load triggering events      predetermined by the client 20, Web server 22, or the
are meant to be exemplary.                                         specific type of display.
    Additional Load Triggering Events. In one exemplary               View Triggering Event. At some point after viewing the
preferred embodiment, if a first load triggering event is 65       display 34, the viewer activates a view triggering event.
followed by a second load triggering event, a second post-         View triggering events may include, for example, the viewer
session platform 24 is opened and sent to the background. In       closing the foreground platform 32, the viewer selecting the
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 21 of 25 PageID #: 27


                                                   US 7,353,229 B2
                             11                                                                   12
post-session platform 24 from the task bar at the bottom of         collates statistical data. This reduces the load on the rela-
a media screen or an alternative menu structure, or the             tional database. In an exemplary preferred embodiment, the
viewer minimizing or moving the foreground platform 32.             count daemon 48 is implemented with three simultaneously
Exemplary view triggering events could include clicking on          operating processes, or "threads": the listener, parse and
an off-site link or entering a new address in a dialogue box,       cache threads.
load, unload, click, resize, submit, focus, blur, drag, key            As shown in FIG. 7, the listener thread accepts packets
press (including a mouse button key), select, change (con-          from the network and inserts them into a queue. In one
tents of a field), refresh, open, close, redirect, enter, exit,     preferred embodiment, a plurality of listener threads each
maximize, end of program, beginning of program, beginning           listen at a separate network address so that statistics for a
of session, end of session, "switching services," or change of 10   plurality of services can be simultaneously collated by a
service. Still other view triggering events may be time             single count daemon 48. The parse thread reads and analyzes
controlled. These view triggering events are meant to be            the packets in the queue. In one preferred embodiment, the
exemplary.                                                          parse thread uses standard reference libraries for the parsing
   It should be recognized from the exemplary view trigger-         of XML. This advantageously reduces the complexity of
ing events set out in the preceding paragraph that one feature 15   processing. The cache thread reads and performs mainte-
of a view triggering event is that it is preferably viewer          nance on the parsed packets as described below.
driven. While a view triggering event is initiated by viewer           As will be recognized by one skilled in the art, a parsed
action, a time delay may also be an aspect of a view                statistical packet represents all of the different pieces of
triggering event. For example, a viewer may initiate a view         information included in a single page load on a Web server.
triggering event by clicking an off-site link, but the set of 20    A single hit can have the effect of causing in excess of 40
actions to be taken in response to the view triggering event        individual values in the relational database to incremented.
may not occur for a pre-determined time period. In other            With daily hit quantities in the millions, directly updating a
words, the view triggering event may be time delayed.               relational database would quickly overwhelm the capacity of
   Post-Session Timer. As shown in FIGS. 3B and 6, in one           the database storage media. In one preferred embodiment,
preferred embodiment, the post-session procedure option- 25         the cache thread is implemented as follows: First, the cache
ally includes the loading of a process used for tracking focus      data structures are abstracted to appear programmatically as
time. When the display 30 on the post-session platform 24           simple data structures; second, each cache is configured with
changes or the platform 24 is closed, the focus timer process       a maximum number of elements; third, when a cache
returns time data to the Web server 22 or secondary server          member is requested that is not within the cache's current
84. The duration of time that the post-session platform 30          dataset, a request is made transparently to the database for
spends in the foreground, and thus being viewed, is tracked.        the data corresponding to the specified key; fourth, if this
In the embodiment shown in FIGS. 3B, 3C, and 6, a focus             action would cause the cache to have too many elements, the
timer is optionally delivered to a post-session Web browser         least recently used element is flushed (i.e., any changes are
by the event handler 44 and time data 47 is optionally              committed to the database) and deleted; and fifth, changed
returned to a focus handler 46. In an alternative preferred 35      data items throughout the entire cache are periodically
embodiment, the focus timer is incorporated into a post-            flushed. This embodiment is particularly advantageous
session platform (the focus timer being implemented as a            where efficient use of the database storage media is desired.
Java applet embedded in the frameset). The focus timer is              The rationale for using this kind of caching scheme is
linked to the post-session Web browser and monitors the             based on the proportional distribution of hits per day. For
activation of focus and blur events, signifying that the 40         example, a "busy" client Web site may receive 432,000
post-session Web browser has been brought to the fore-              hits/day or 5 hits/second; an "average" client Web site may
ground, sent to the background, or closed. In one preferred         receive 86,400 hits/day, or 1 hit/second; and a "slow" client
embodiment, the focus timer is incorporated into the post-          Web site may receive 2,880 hits/day or 0.033 hits/second. If
session Web browser. It should be noted that while the focus        the Web server of the present invention receives a 10
timer process may only track the time period between when 45        hits/second as a result of viewers accessing client Web sites,
a post-session platform is brought to the foreground to when        the distribution of hits received attributable to the busy,
the post-session platform is closed, it may track time periods      average, and slow Web sites is 50%, 10%, and 3.33%,
pertaining to other events relevant to a client. In one             respectively. If data is cached and flushed at a rate of 1 flush
preferred embodiment, the focus timer process may track the         per minute instead updating of the database each time a hit
length of the time the post-session platform is in the fore- 50     is received, then the database load and network traffic are
ground although a viewer may bring a post-session platform          reduced by a factor of 600, 120, and 2 for the busy,
to the foreground and return it to the background multiple          moderate, and slow Web sites, respectively.
times before the viewer ultimately closes the platform. In             Post-Session Database. In one preferred embodiment, the
another alternative embodiment, the focus timer process             present invention includes a relational database for storing
tracks the length of time the post-session browser spends in 55     member account information and statistical data on focus
the background.                                                     time.
   Focus Handler. As shown in FIGS. 3C and 6, the focus                Alternative Media
handler 46 receives time data 47 from the focus timer and              FIGS. 4 to 7, and 9 show one exemplary preferred
transmits statistical packets to the count daemon 48 to track       embodiment of the present invention that uses computers
the focus time for a display 30 displayed in a post-session 60      and the Web. This exemplary preferred embodiment is
platform 24. In an exemplary shown embodiment, the focus            explained in greater detail above.
handler 46 performs only minimal data lookup and returns               The present invention is well suited to alternative media
a response to the focus timer that indicates that no content        such as a telephone. For example, a viewer 26 may request
body follows.                                                       a display 34 from a client 20 airline using as media 28 the
   Count Daemon. As shown in FIGS. 3C and 7, the count 65           viewer's telephone. The display 34 consists of the audio
daemon 48 receives statistics packets from the script handler       communication interface (which may be an actual person or
42, the event handler 44, and the focus handler 46 and              an automated voice response unit) provided by the client 20
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 22 of 25 PageID #: 28


                                                     US 7,353,229 B2
                              13                                                                     14
airline and the foreground platform 32 consists of a tele-              session platform and display 24, 30 come to the foreground
phone circuit. In this example, the viewer's 26 request for an          after a predetermined period of time (for example, thirty
audio communication interface (e.g., dialing) from the client           minutes or two hours), a predetermined number of view
20 airline is a load triggering event that causes a post-session        triggering events, or a specific type of triggering event.
procedure to be delivered to media 28 (e.g., the viewer's                  Although the present invention has been discussed as a
telephone). When the view triggering event (e.g., hanging up            sequence of steps as shown in FIG. 8, it is contemplated that
the phone) occurs, the audio communication advertisement                the functions of the shown steps could be combined into a
is brought to the foreground (e.g., an automatic call back              smaller number of steps or could be expanded to include
feature) and played. In this example, the post-session pro-             additional steps and sub-steps. In one preferred embodiment,
cedure requests a post-session platform (a second telephone        10   the functions of opening and sending to the background a
circuit) which in tum requests a display 30. In this example,           post-session platform and display may be performed in a
display 30 might be an audio communication advertisement                single step.
provided by a client 20 rental car company or an audio                     It should be noted that although FIG. 1 shows a single
communication advertisement provided by a client 20 lodg-               client 20, it should be noted that an alternative preferred
ing provider. The post-session second telephone circuit is         15   embodiment contemplates multiple clients. For example, the
sent to the background and does not disrupt the viewer's 26             present invention may be used with a collection of indepen-
perception of the audio communication interface 32. It                  dent Web sites related by a common theme (e.g. Web sites
should be noted that the telephone media might not actually             featuring Thai cooking, a Thai restaurant, travel to Thailand,
be sent to the background, but could wait to run in the                 the Thai language, the Thai religion, and Thailand). The
background until the view triggering event occurs.                 20   present invention may also be used with a network of related
   Another alternative media is television. For example, a              sites. For example, a commercial enterprise with several
viewer 26 requests a display 34 from a client 20 television             lines of business may have a Web site for each line of
broadcaster using television as media 28. The display 34                business, such as food products, cooking supplies, a travel
consists of broadcast content, such as a television program             agency, and a book seller. These commonly owned Web sites
and the foreground platform 32 consists of a television            25   featuring different topics could jointly use the present inven-
channel. In this example, the viewer's 26 request for display           tion.
34 (e.g., television program) is a load triggering event that              It should be noted that in one preferred embodiment, a
causes a post-session procedure to be delivered to media 28             client 20 registers to use the system by accessing a Web
(e.g., the interactive television). A view triggering event             server 22. A client 20 registering to use the present invention
occurs when the viewer changes the display 34 (e.g., broad-        30   provides the Web server 22 with information such as client
cast context), and as a result a post-session platform 24 (e.g.,        name, company name, address, e-mail address, telephone
television channel) is brought to the foreground. (It should            address, line of business, planned advertising budget, esti-
be noted that the post-session procedure, in this example,              mated daily traffic, Web site information, and other similar
causes the post-session platform to be opened upon and sent             information. In a first alternate preferred embodiment, a
to the background upon a load triggering event.) In this           35   client 20 uses the present invention without registering. In a
example, post-session display 30 may consist of an adver-               second alternate preferred embodiment, a client 20 uses the
tisement that is presented within the post-session platform             present invention for free. In another preferred embodiment,
24.                                                                     the client 20 registers for a fee.
                                                                           As has been discussed above, a load triggering event
            ALTERNATIVE EMBODIMENTS                                40   causes a post-session platform to be opened and immedi-
                                                                        ately sent to the background. It should be understood that the
   Although the present invention has been discussed in                 term "immediately" ideally means instantaneously or with-
terms of the Internet, alternative media is also contemplated           out any perceptible time delay. But this term may also mean
within the scope of the invention. For example, as shown in             a momentary time delay that is perceptible so long as the
the exemplary embodiments discussed above, interactive             45   delay does not disturb the viewer's viewing experience.
television and wireless communication devices would be                     As shown in FIG. 8, a load triggering event 58 causes a
ideally suited to the method described in this disclosure.              post-session platform to open 60 and also causes the post-
Further, although the terms "Web server," "Web site," and               session platform to request a post-session display 62. In one
"Web page," are used throughout this disclosure, they are               preferred embodiment, the event handler 44 returns a link to
used in the generic sense and are not meant to exclude their       50   a single post-session display 45b, 64. In alternative embodi-
equivalent as associated with intranets, LANs, WANS, or                 ments, the post-session display may be refreshed one or
alternate media.                                                        more times. In other words, the event handler may deliver
   Alternative embodiments could be developed in which the              multiple links to the post-session platform that are down-
order of the operations is changed. For example, the function           loaded at periodic intervals while the post-session platform
of the script handler 42 may be carried out after the load         55   remains in the background. In these alternative embodi-
triggering event. Another example would be one in which                 ments, the post-session display may be refreshed even
the function of the event handler 44 is carried out after the           though a new load triggering event has not occurred.
view triggering event. Yet another example would be com-                   The terms and expressions that have been employed in the
bining the functions of the script and event handlers so that           foregoing specification are used as terms of description and
the post-session platform is opened and sent to the back-          60   not oflimitation and are not intended to exclude equivalents
ground by the "script handler" prior to the load triggering             of the features shown and described or portions of them. The
event. Still another example is one in which the entire                 scope of the invention is defined and limited only by the
system is delayed for a significant period so that the post-            claims that follow.
session platform and display 24, 30 do not become visible                  What is claimed is:
for a predetermined time, a predetermined number of view           65      1. A system for Internet advertising capable of simulta-
triggering events, or a specific type of triggering event. The          neously maintaining a foreground window and at least one
invention could also be implemented by having the post-                 background window and capable of displaying a first
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 23 of 25 PageID #: 29


                                                    US 7,353,229 B2
                             15                                                                   16
browser in a said foreground window for selectively brows-              11. A post-session advertising method for use in a media
ing the Internet, said system comprising:                            capable of simultaneously maintaining a background win-
   (a) a device that interacts with a display to display to a        dow and a foreground window, said method comprising the
      user at least one browser, each said at least one browser      steps of:
      within a respective window;                                       (a) embedding post-session instructions into a first
   (b) a script handler that invokes a post-session procedure              browser, said first browser for being displayed in said
      in said first browser, said post-session procedure open-             foreground window;
      ing a second browser in a said background window                  (b) said post-session instructions opening a second
      such that said opening is free from said background                  browser in said background window such that said
      window obscuring any portion of said foreground win- 10              opening is free from said background window obscur-
      dow while said first browser is simultaneously dis-                  ing any portion of said foreground window while said
      played in said foreground window; and                                first browser is being displayed in said foreground
   (c) an event handler that receives, from an Internet                    window;
      address, a link to an advertisement and loads said                (c) said post-session instructions receiving, from an Inter-
      advertisement into said second browser while said 15                 net address, a link to an advertisement; and
      second browser is in a said background window, said               (d) loading said advertisement into said second browser
      event handler maintaining said second browser in said                while said second browser is in said background win-
      background window until the occurrence of a user-                    dow, wherein said post-session instructions are free
      initiated action made after said second browser is                   from instructions capable of automatically, without
      opened in said background window, said event handler 20              user interaction, causing said second browser in said
      being free from instructions capable of automatically,               background window to replace said first browser as
      without user interaction, causing said second browser                said foreground window such that said first browser is
      in said background window to replace said first browser              then maintained in a background window at least
      as said foreground window such that said first browser               partially behind said second browser, during a time
      is then maintained in a background window at least 25                interval begiuning incrementally before said advertise-
      partially behind said second browser, during a time                  ment has completely finished loading in said second
      interval begiuning incrementally before said advertise-              browser and ending at a time incrementally after a user
      ment has completely finished loading in said second                  action navigates said first browser to a different web
      browser and ending at a time incrementally after a user              site than that loaded in said first browser when said
      action navigates said first browser to a different web 30            event handler received said advertisement.
      site than that loaded in said first browser when said             12. The method of claim 11 where said second browser is
      event handler received said advertisement.                     opened in response to a load-triggering event.
   2. The system of claim 1 where said second browser is                13. The method of claim 12 where said load-triggering
opened in response to a load-triggering event.                       event comprises at least one of:
   3. The system of claim 2 where said load-triggering event 35         (a) clicking on an off-site link;
comprises at least one of:                                              (b) entering a new address;
   (a) clicking on an off-site link;                                    (c) refreshing a web site;
   (b) entering a new address;                                          (d) exiting a web site; and
   (c) refreshing a web site;                                           (e) being redirected to a web site.
                                                                40      14. The method of claim 12 where implementation of said
   (d) exiting a web site; and
                                                                     post-session instructions is delayed for a predetermined time
   (e) being redirected to a web site.
                                                                     period.
   4. The system of claim 2 where said script handler delays
                                                                        15. The method of claim 14 where implementation of said
invocation of said post-session procedure for a predeter-
                                                                     post-session instructions is canceled if a user loads a new
mined time period.                                              45
                                                                     web site in said first browser before said predetermined time
   5. The system of claim 4 where said script handler cancels
                                                                     period has elapsed.
invocation of said post-session procedure if a user loads a             16. The method of claim 11 where said second browser is
new web site in said first browser before said predetermined
                                                                     displayed in a foreground window after the occurrence of a
time period has elapsed.                                             view-triggering event.
   6. The system of claim 1 where said second browser is 50             17. The method of claim 16 including the step of tracking
displayed in a foreground window after the occurrence of a           the duration that said second browser is displayed in said
view-triggering event.                                               foreground window.
   7. The system of claim 6 including a focus timer that                18. The method of claim 11 where said media comprises
tracks the duration that said second browser is displayed in         one of a computer, a PDA, a cell phone, and a television.
said foreground window.                                         55      19. The method of claim 11 where an event handler selects
   8. The system of claim 1 where said media comprises one           and returns one of a plurality of advertisements maintained
of a computer, a PDA, a cell phone, and a television.                at said Internet address.
   9. The system of claim 1 where said event handler selects            20. The method of claim 19 where a plurality of second
and returns one of a plurality of advertisements maintained          browsers are opened, each maintained in a separate said
at said Internet address.                                       60   background window, and a link is received to an advertise-
   10. The system of claim 9 capable of opening a plurality          ment for each said second browser and a respective said
of second browsers, each maintained in a separate said               advertisement being loaded into each said second browser
background window, said event handler capable of receiving           while each said second browser remains in its respective
a link to an advertisement for each said second browser and          said background window.
loading a respective said advertisement into each said sec- 65          21. A system for Internet advertising capable of simulta-
ond browser while each said second browser remains in its            neously maintaining a foreground window and at least one
respective said background window.                                   background window and capable of displaying a first
Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 24 of 25 PageID #: 30


                                                  US 7,353,229 B2
                            17                                                                   18
browser in a said foreground window for selectively brows-          window such that said first browser is then maintained in a
ing the Internet, said system comprising a device that              background window at least partially behind said second
interacts with a display to display to a user at least one          browser, during a time interval beginning incrementally
browser, each said at least one browser within a respective         before said advertisement has completely finished loading in
window, and a script handler that invokes a post-session            said second browser and ending at a time incrementally after
procedure in said first browser, said post-session procedure        a user action navigates said first browser to a different web
opening an advertisement in a second browser and main-
                                                                    site than that loaded in said first browser when said event
taining, said second browser in a said background window
                                                                    handler received said advertisement.
while said first browser is simultaneously displayed in said
foreground window, said post-session procedure being free      10
                                                                      22. The system of claim 21 where said script handler
from instructions capable of automatically, without user            comprises code in a web page displayed in said first browser.
interaction, causing said second browser in said background
window to replace said first browser as said foreground                                   * * * * *
        Case 2:13-cv-00403-JRG Document 1-1 Filed 05/10/13 Page 25 of 25 PageID #: 31

                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                    CERTIFICATE OF CORRECTION

PATENT NO.      : 7,353,229 B2                                                                                            Page I of I
APPLICATION NO. : 09/866425
DATED           : April I, 2008
INVENTOR(S)     : Andrew Vilcauskas, Jr. et al.

It is certified that error appears in the above-identified   patent and that said Letters Patent is hereby corrected as shown below:




          Col. 15, Line 56

          Change "where said media comprises" to read --where said device comprises--.

          Col. 16, Line 30

          Change "event handler received said advertisement" to read --post-session instructions
          received said link to said advertisement--.

          Col. 17, Lines 7-S

          Change "and maintaining, said second" to read --and maintaining said second--.

          Col. IS, Lines 7-S

         Change "when said event handler received said advertisement." to read --when said
         post-session procedure opened said advertisement.--




                                                                                          Signed and Sealed this

                                                                                         First Day of June, 2010




                                                                                                     David J. Kappos
                                                                                 Director of the United States Patent and Trademark Office
